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 1                                                     The Honorable Michelle L. Peterson
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 7                     UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF WASHINGTON
 8
                                   AT SEATTLE
 9
10
      UNITED STATES OF AMERICA,                       No. MJ21-611
11
                           Plaintiff,                 COMPLAINT for VIOLATION
12
                      v.                              18 U.S.C. §§ 922(g)(1) and 924(a)(2)
13
      JAMES WESLEY BOWDEN
14
                           Defendant.
15
16         BEFORE the Honorable Michelle L. Peterson, United States Magistrate Judge,
17 United States District Courthouse, Seattle, Washington.
18         The undersigned complainant being duly sworn states:
19                                         COUNT 1
20                             (Felon in Possession of a Firearm)

21         On or about November 4, 2021, in Snohomish County, in the Western District of
22 Washington, JAMES WESLEY BOWDEN, knowing that he had been convicted of the
23 following crimes, punishable by imprisonment for terms exceeding one year:
24         Burglary in the First Degree, in Skagit County Superior Court, Washington, under
25         cause number 98-1-00435-1, on or about January 14, 1998, and

26         Theft of a Firearm, in Skagit County Superior Court, Washington, under cause
27         number 98-1-00435-1, on or about January 14, 1998

28
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 1 did knowingly possess firearms—including:
 2         One DPMS Inc. Model A-15 5.56mm rifle with serial number: FH28458;
 3         One Savage Model 110 .270 Winchester caliber rifle with serial number: F255255;
 4         One Ceska Zbrojovka (CZ) Model CZ 75 Tactical Sporter Orange .40 S&W
           caliber pistol with serial number: D225312;
 5
 6         One Smith & Wesson Model M&P 15 .458 SOCOM caliber rifle with serial
           number: SZ56510;
 7
 8         One Colt Model Single Action Army .45 Colt caliber revolver with serial number:
           SA98998;
 9
10         One Colt Model Detective Special .38 Special caliber revolver with serial number:
           C08216;
11
12         One Czech Small Arms Model SA VZ61 .32 ACP caliber pistol with serial
           number: 6102772;
13
14         One Izhevsk Mechanical Plant Model IZH 35 .22LR caliber pistol with serial
15         number: M216600B;
16 said firearms having been shipped and transported in interstate commerce. In violation of
17 Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).
18         The undersigned complainant, Gregory Heller, Special Agent, being first duly
19 sworn on oath, hereby further deposes and states:
20                              TRAINING AND EXPERIENCE
21         1.       I, Special Agent Gregory Heller, am a duly sworn member of the Bureau of
22 Alcohol, Tobacco, Firearms, and Explosives (ATF). I am currently assigned to the ATF
23 Seattle III Field Office, which is located within the Seattle Field Division. I have been
24 employed as a special agent since September 2014. From 2007 to 2014, I was employed
25 as a police officer and detective in Gwinnett County, Georgia. In total, I have
26 approximately fourteen years of state and federal law enforcement experience.
27         2.       I am a graduate of Duke University in Durham, North Carolina, where I
28 received a Bachelor of Science in Engineering (B.S.E.) in Civil Engineering. I completed
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 1 a twelve week Criminal Investigator Training Program (CITP) and a fourteen week
 2 Special Agent Basic Training (SABT) at the ATF National Academy/ Federal Law
 3 Enforcement Training Center (FLETC) in Glynco, Georgia. I also completed a 23-week
 4 Gwinnett County Police Training Academy and was a Peace Officer Standards and
 5 Training (P.O.S.T.) certified peace officer in the State of Georgia.
 6         3.       I am currently assigned to an ATF Arson and Explosives group and
 7 primarily conduct investigations related to the criminal use of fire or explosives. I am
 8 also responsible for enforcing federal firearms and explosives laws and related statutes in
 9 the Western District of Washington. I received training on the proper investigative
10 techniques for these violations. I have actively participated in investigations of criminal
11 activity, including but not limited to: crimes against persons, crimes against property, fire
12 and explosive related crimes, and crimes involving the possession, use, theft, or transfer
13 of firearms. During these investigations, I have also participated in the execution of
14 search warrants and the seizure of evidence indicating the presence of criminal violations.
15 As a law enforcement officer, I have testified under oath, affirmed to applications of
16 search and arrest warrants, and obtained electronic monitoring orders.
17         4.       I make this Affidavit, in part, based on personal knowledge derived from my
18 participation in this investigation and, in part, based upon information gained from, but not
19 limited to, the following sources: (1) investigation conducted by other law enforcement
20 personnel, whose findings and observations have been reported to me either directly or
21 indirectly; (2) statements of witnesses; (3) business and public records; and (4) law
22 enforcement database inquiries.
23         5.       Except as otherwise noted, the information set forth in this Affidavit has been
24 provided to me by other law enforcement officers. Unless otherwise noted, whenever in
25 this Affidavit I assert that a statement was made, the information was provided by another
26 law enforcement officer (who may have had either direct or hearsay knowledge of the
27 statement) to whom I have spoken or whose report I have read and reviewed. Such
28
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 1 statements are among many statements made by others and are stated in substance, not
 2 verbatim, unless otherwise indicated.
 3         6.       Furthermore, my experience as a special agent forms a basis for the
 4 opinions and conclusions set forth below. Because this Affidavit is offered for the
 5 limited purpose of establishing probable cause that JAMES WESLEY BOWDEN
 6 committed the offense of Felon in Possession of a Firearm, it does not contain all of the
 7 information that law enforcement possesses relative to this investigation. Dates and
 8 times provided herein are approximate.
 9                        INVESTIGATION AND PROBABLE CAUSE
10         7.       Based on my discussions with Snohomish County Sheriff’s Office (SCSO)
11 deputies and detectives, as well as my review of two Snohomish County Superior Court
12 search warrants, I am aware that on November 4, 2021, SCSO deputies developed
13 probable cause that JAMES WESLEY BOWDEN had committed the offenses of Assault
14 in the Second Degree and Unlawful Possession of a Firearm in the First Degree.
15         8.       Also on November 4, 2021, deputies and other law enforcement personnel
16 went to BOWDEN’s residence at 19313 Burn Road in unincorporated Arlington,
17 Washington. (This residence lies within the Western District of Washington.) After over
18 an hour of discussion and negotiation, BOWDEN exited the residence and surrendered to
19 deputies.
20         9.       Investigators applied for and obtained a Snohomish County Superior Court
21 search warrant authorizing the search of the residence, the detached garage, and
22 outbuildings. Other people in the residence also eventually exited and deputies were able
23 to determine that no one remained inside the residence. Deputies and SWAT personnel
24 were also able to determine there were no people inside the detached garage, but in a
25 room in the detached garage, they saw chemicals and other evidence of explosive
26 manufacturing. Given the hazards associated with explosive manufacturing, deputies
27 elected to wait until the following morning to allow for daylight and additional resources
28
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 1 to arrive to continue the search. Deputies secured the scene and closed some of the
 2 nearby roads.
 3         10.     On November 5, 2021, deputies obtained an additional Snohomish County
 4 Superior Court search warrant also authorizing the search of 19313 Burn Road for
 5 evidence related to explosives and explosive manufacturing. On November 5, and
 6 November 6, 2021, personnel from various agencies including ATF, FBI, Washington
 7 State Patrol, and the Washington National Guard assisted SCSO mitigate the hazards and
 8 search 19313 Burn Road.
 9         11.     Investigators determined that a room in the northeast corner of the detached
10 garage was set-up like a laboratory. Investigators located chemicals, equipment, and
11 documents consistent with the manufacture of homemade explosives. Inside the
12 laboratory room and on a workbench just outside the laboratory room, investigators
13 located substances which preliminary testing indicated were explosives.
14         12.     Once bomb technicians and other personnel were able to mitigate the
15 hazards in the laboratory room, they searched further and located a removable panel in
16 the laboratory floor. Removing this panel revealed a ladder to an underground bunker.
17 Investigators were eventually able to search this space as depicted in the following two
18 photographs:
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11               Photograph of Laboratory Room in Detached Garage
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22               Photograph of entrance through lab floor into bunker
23         13.    Inside the bunker, investigators located firearms, ammunition, suspected
24 grenades, suspected silencers, ballistic armor, firearms accessories, and other equipment.
25 Also in the bunker, investigators located numerous receipts and invoices in the name of
26 “James Bowden” or the name “Wes Bowden.” From speaking with neighbors of 19313
27 Burn Road, I knew that BOWDEN sometimes went by “Wes” (his middle name Wesley).
28 A number of the invoices/ receipts, including some of the ones in BOWDEN’s name
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 1 were for firearms parts and ammunition. Examples are below:
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21              Examples of receipts / invoices for firearms parts and ammunition
22        14.   The firearms located inside the bunker included the following:
23        One DPMS Inc. Model A-15 5.56mm rifle with serial number: FH28458;
24        One Savage Model 110 .270 Winchester caliber rifle with serial number: F255255;
25        One Ceska Zbrojovka (CZ) Model CZ 75 Tactical Sporter Orange .40 S&W
          caliber pistol with serial number: D225312;
26
27        One Smith & Wesson Model M&P 15 .458 SOCOM caliber rifle with serial
          number: SZ56510;
28
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 1         One Colt Model Single Action Army .45 Colt caliber revolver with serial number:
           SA98998;
 2
 3         One Colt Model Detective Special .38 Special caliber revolver with serial number:
           C08216;
 4
 5         One Czech Small Arms Model SA VZ61 .32 ACP caliber pistol with serial
           number: 6102772;
 6
 7         One Izhevsk Mechanical Plant Model IZH 35 .22LR caliber pistol with serial
 8         number: M216600B;
 9         15.    I have examined and photographed the above listed firearms. I have also
10 consulted with and provided the firearms or photos of the firearms to Special Agent Brian
11 Arnold. Special Agent Arnold is an Interstate Nexus Expert, and has additional training
12 in determining the location of a particular firearm’s manufacture. Based on his training
13 and experience, Special Agent Arnold knows that the firearms listed above were not
14 manufactured in Washington. Consequently, since the firearms were recovered in
15 Washington, Special Agent Arnold and I believe, that the above listed firearms traveled
16 in and affected interstate commerce.
17         16.    From review of imagery and maps of 19313 Burn Road and from having
18 been present at the location on November 5 and November 6, 2021, I know that the
19 property is gated and contains two main structures: a house/residence and a detached
20 garage/shop. Both structures share the same address and parcel number. I have reviewed
21 Snohomish County Tax Assessor records. I observed that JAMES BOWDEN was listed
22 as the sole owner of the property and the sole person responsible for taxes on the
23 property.
24         17.    When I was at the property, I saw that the only entrances into the detached
25 garage were the large garage type door and a single standard sized door. I am aware that
26 deputies / SWAT had to force open this door to gain access and personally observed the
27 damage to the bolt indicated the door had been locked at the time it was forced open. I
28 also observed that this door had an additional homemade rope and lever lock system and
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 1 a contraption that appeared to be designed to discharge mace or OC spray if triggered,
 2 though no cannister in place at the time I examined the system.
 3         18.    Other special agents and I interviewed some of BOWDEN’s family
 4 members. I learned that JAMES BOWDEN and his spouse purchased the property at
 5 19313 Burn Road in 2002. I learned that sometime around 2006, JAMES BOWDEN
 6 built a bunker and buried it on the property. I also learned that the spouse moved away
 7 from the property in December of 2020 and that BOWDEN was apparently allowing
 8 others to live or stay on the property in trailers and possible in the residence.
 9         19.    During these interviews, I learned that BOWDEN regularly received
10 packages at the house containing chemicals and chemical equipment and that he was the
11 person who used and had access to the laboratory area in the detached garage.
12         20.    Other special agents and I interviewed some of BOWDEN’s neighbors. I
13 learned that neighbors regularly heard loud explosions, to include some that shook their
14 houses, as well as firearms discharges coming from 19313 Burn Road. One neighbor had
15 previously been inside the detached garage/shop with BOWDEN, knew him to be the one
16 in control of the space, and knew him to have a secret room there.
17         21.    I have reviewed Skagit County Judgement and Sentence 98-1-00435-4
18 which documents that on January 14, 1999, JAMES W BOWDEN was sentenced to 21
19 months in prison for a Burglary 1st Degree conviction and 15 months in prison for a Theft
20 of a Firearm conviction. Special agents contacted the Skagit County Clerk’s Office. The
21 clerk’s office was unable to locate any records related efforts by JAMES BOWDEN to
22 restore his rights to possess firearms.
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 1                                       CONCLUSION
 2         22.    Based on the aforementioned facts, there is probable cause to believe that
 3 JAMES WESLEY BOWDEN committed the crime of Felon in Possession of a Firearm in
 4 violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).
                                                                            Digitally signed by GREGORY
 5                                                                          HELLER
                                                                            Date: 2021.11.16 10:28:52
 6                                                                          -08'00'
                                                    Gregory Heller, Special Agent
 7
                                                    Bureau of Alcohol, Tobacco, Firearms,
 8                                                  and Explosives
 9
           On this date, the above-named agent provided a sworn statement attesting to the
10
     truth of the contents of the foregoing Affidavit, and based on the sworn Complaint and
11
     Affidavit, the Court hereby finds that there is probable cause to believe the defendant
12
     JAMES WESLEY BOWDEN committed the offense set forth in the Complaint.
13
14
           DATED this 17th day of November, 2021.
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17
18                                                  The Michelle L. Peterson
                                                    United States Magistrate Judge
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